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         EXHIBIT B-2
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                                         Exhibit B-2

GENERAL OBJECTIONS

         2.     Defendants object to the Requests to the extent they seek information that
is not related or relevant to Plaintiffs’ allegations that Defendants operated a software
called “Pegasus” with respect to the “Target Devices” described in the Complaint (Dkt.
No. 1 at 2:6-7).

REQUEST FOR PRODUCTION NO. 1

       ALL DOCUMENTS and COMMUNICATIONS CONCERNING the
development, testing, deployment, installation, distribution, use, maintenance,
troubleshooting, and/or operation of any NSO SPYWARE targeting or directed at
WHATSAPP servers or USERS

RESPONSE TO REQUEST FOR PRODUCTION NO. 1

         Defendants incorporate their General Objections, including that this Request
purports to require Defendants to participate in this lawsuit in violation of Defendants’
derivative sovereign immunity and Due Process rights and despite that Plaintiffs have not
established personal jurisdiction over Defendants. Defendants object to this Request as
overbroad, irrelevant, unduly burdensome, and not proportional to the needs of the
litigation. Among other reasons, the Request seeks information related to technologies
other than the Pegasus technology that was used with respect to the “Target Devices”
described in the Complaint (Dkt. No. 1 at 2:6-7), which has no relevance to Plaintiffs’
allegations or any issue in this case. Defendants further object that the terms
“deployment,” “use,” and “operation,” as well as the phrase “targeted or directed at,” are
vague and ambiguous. Defendants further object that documents and communications
relating to the deployment, installation, distribution, use and operation of Pegasus by
Defendants’ sovereign customers are third-party information that Defendants are
prohibited from disclosing by contractual obligations or foreign law, regulation,
governmental order or directive. Responsive materials are being withheld on the basis of
these objections.

        Subject to and without waiving these objections, and conditioned on whether the
Court determines that discovery is proper at this stage in consideration of Defendants’
motion to stay discovery, and subject to the Court’s entry of a protective order,
Defendants will produce responsive and nonprivileged documents and communications,
if any exist, related to the development, testing, maintenance and troubleshooting of the
Pegasus technology that was used with respect to the “Target Devices” described in the
Complaint (Dkt. No. 1 at 2:6-7), that Defendants are able to locate after a reasonable
search, provided that (1) the subject matter jurisdiction of this action is established and, if
taken, any interlocutory appeal of such decision is determined; (2) Plaintiffs establish
personal jurisdiction over Defendants; (3) the Court determines discovery is proper at this
stage; and (4) Defendants are not prohibited from disclosing such documents and
communications by Israeli law, regulation, or governmental order or directive, or any
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other applicable law, regulation, or governmental order or directive, or by contract. If the
Court determines it has jurisdiction of the subject matter and personal jurisdiction over
Defendants and that discovery is proper at this stage, and if Defendants are not otherwise
prohibited from making such a disclosure, Defendants anticipate substantial completion
of their responsive production within 180 days after such determinations by the Court.

REQUEST FOR PRODUCTION NO. 2

       DOCUMENTS and COMMUNICATIONS sufficient to identify the PERSONS,
teams, groups, divisions, or sections at NSO responsible for developing, testing,
deploying, using, distributing, maintaining, troubleshooting, and/or operating NSO
SPYWARE targeting or directed at WHATSAPP servers or USERS.

RESPONSE TO REQUEST FOR PRODUCTION NO. 2

         Defendants incorporate their General Objections, including that this Request
purports to require Defendants to participate in this lawsuit in violation of Defendants’
derivative sovereign immunity and Due Process rights and despite that Plaintiffs have not
established personal jurisdiction over Defendants. Defendants object to this Request as
overbroad, irrelevant, unduly burdensome, and not proportional to the needs of the
litigation because it seeks information related to technologies other than the Pegasus
technology that was used with respect to the “Target Devices” described in the Complaint
(Dkt. No. 1 at 2:6-7), which has no relevance to Plaintiffs’ allegations or any issue in this
case. Defendants further object that the terms “deploying,” “using,” and “operating,” as
well as the phrase “targeted or directed at,” are vague and ambiguous. Defendants further
object to this request to the extent that it falsely implies that persons, teams, groups,
divisions or sections at NSO deploy, use, distribute, or operate Pegasus or any other
technology within the definition of “NSO SPYWARE.” Responsive materials are being
withheld on the basis of these objections.

        Subject to and without waiving these objections, and conditioned on whether the
Court determines that discovery is proper at this stage in consideration of Defendants’
motion to stay discovery, and subject to the Court’s entry of a protective order,
Defendants will produce responsive and nonprivileged documents and communications,
sufficient to identify persons responsible for the development, testing, maintenance and
troubleshooting of the Pegasus technology that was used with respect to the “Target
Devices” described in the Complaint (Dkt. No. 1 at 2:6-7), that Defendants are able to
locate after a reasonable search, provided that (1) the subject matter jurisdiction of this
action is established and, if taken, any interlocutory appeal of such decision is determined;
(2) Plaintiffs establish personal jurisdiction over Defendants; (3) the Court determines
discovery is proper at this stage; and (4) Defendants are not prohibited from disclosing
such documents and communications by Israeli law, regulation, or governmental order or
directive, or any other applicable law, regulation, or governmental order or directive, or
by contract. If the Court determines it has jurisdiction of the subject matter and personal
jurisdiction over Defendants and that discovery is proper at this stage, and if Defendants
are not otherwise prohibited from making such a disclosure, Defendants anticipate



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substantial completion of their responsive production within 180 days after such
determinations by the Court.

REQUEST FOR PRODUCTION NO. 3

      ALL DOCUMENTS and COMMUNICATIONS CONCERNING the use of NSO
SPYWARE by third-parties, including but not limited to marketing materials, licensing
agreements, user complaints, and training manuals or documents.


RESPONSE TO REQUEST FOR PRODUCTION NO. 3

         Defendants incorporate their General Objections, including that this Request
purports to require Defendants to participate in this lawsuit in violation of Defendants’
derivative sovereign immunity and Due Process rights and despite that Plaintiffs have not
established personal jurisdiction over Defendants. Defendants object to this Request as
overbroad, irrelevant, unduly burdensome, and not proportional to the needs of the
litigation because it seeks information related to technologies other than the Pegasus
technology that was used with respect to the “Target Devices” described in the Complaint
(Dkt. No. 1 at 2:6-7), and uses of NSO technologies other than the conduct described in
the Complaint, which have no relevance to Plaintiffs’ allegations or any issue in this case.
Defendants further object to this Request to the extent that it seeks documents and
communications in the custody and control of third parties, not Defendants. Defendants
further object to the extent this Request seeks third-party information that Defendants are
prohibited from disclosing by contractual obligations or foreign law, regulation,
governmental order or directive. Defendants further object that the term “use” is vague
and ambiguous, as is evidenced by the listing of “marketing materials” as an example of
documents that supposedly concern the use of Defendants’ technology by third parties;
Defendants disagree that marketing materials about a technology, generally speaking,
would be documents concerning the use of that technology by third parties. Responsive
materials are being withheld on the basis of these objections.

        Subject to and without waiving these objections, and conditioned on whether the
Court determines that discovery is proper at this stage in consideration of Defendants’
motion to stay discovery, and subject to the Court’s entry of a protective order,
Defendants will produce responsive and nonprivileged marketing materials, licensing
agreements, user complaints, and training manuals or documents, if any exist, related to
the Pegasus technology that was used with respect to the “Target Devices” described in
the Complaint (Dkt. No. 1 at 2:6-7), that Defendants are able to locate after a reasonable
search, provided that (1) the subject matter jurisdiction of this action is established and, if
taken, any interlocutory appeal of such decision is determined; (2) Plaintiffs establish
personal jurisdiction over Defendants; (3) the Court determines discovery is proper at this
stage; and (4) Defendants are not prohibited from disclosing such documents and
communications by Israeli law, regulation, or governmental order or directive, or any
other applicable law, regulation, or governmental order or directive, or by contract. If the
Court determines it has jurisdiction of the subject matter and personal jurisdiction over
Defendants and that discovery is proper at this stage, and if Defendants are not otherwise


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prohibited from making such a disclosure, Defendants anticipate substantial completion
of their responsive production within 180 days after such determinations by the Court.

REQUEST FOR PRODUCTION NO. 4

       DOCUMENTS and COMMUNICATIONS sufficient to identify the PERSONS,
and the teams, groups, divisions, or sections at NSO responsible for installation,
maintenance, or training of NSO SPYWARE.

RESPONSE TO REQUEST FOR PRODUCTION NO. 4

         Defendants incorporate their General Objections, including that this Request
purports to require Defendants to participate in this lawsuit in violation of Defendants’
derivative sovereign immunity and Due Process rights and despite that Plaintiffs have not
established personal jurisdiction over Defendants. Defendants object to this Request as
overbroad, irrelevant, unduly burdensome, and not proportional to the needs of the
litigation because it seeks information related to technologies other than the Pegasus
technology that was used with respect to the “Target Devices” described in the Complaint
(Dkt. No. 1 at 2:6-7), which has no relevance to Plaintiffs’ allegations or any issue in this
case. Responsive materials are being withheld on the basis of these objections.

        Subject to and without waiving these objections, and conditioned on whether the
Court determines that discovery is proper at this stage in consideration of Defendants’
motion to stay discovery, and subject to the Court’s entry of a protective order,
Defendants will produce documents and communications sufficient to identify the
persons responsible for installation, maintenance or training related to the Pegasus
technology that was used with respect to the “Target Devices” described in the Complaint
(Dkt. No. 1 at 2:6-7), if any exist, that Defendants are able to locate after a reasonable
search, provided that (1) the subject matter jurisdiction of this action is established and, if
taken, any interlocutory appeal of such decision is determined; (2) Plaintiffs establish
personal jurisdiction over Defendants; (3) the Court determines discovery is proper at this
stage; and (4) Defendants are not prohibited from disclosing such documents and
communications by Israeli law, regulation, or governmental order or directive, or any
other applicable law, regulation, or governmental order or directive, or by contract. If the
Court determines it has jurisdiction of the subject matter and personal jurisdiction over
Defendants and that discovery is proper at this stage, and if Defendants are not otherwise
prohibited from making such a disclosure, Defendants anticipate substantial completion
of their responsive production within 180 days after such determinations by the Court.

REQUEST FOR PRODUCTION NO. 5:

       ALL DOCUMENTS and COMMUNICATIONS between January 2014 and
December 2019 CONCERNING the identification of WhatsApp or Facebook application
or network vulnerabilities, including but not limited to any payments for bounties for
WhatsApp or Facebook vulnerabilities, contracts for services by vendors, or analyst work
product and reports.




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RESPONSE TO REQUEST FOR PRODUCTION NO. 5:

         Defendants incorporate their General Objections, including that this Request
purports to require Defendants to participate in this lawsuit in violation of Defendants’
derivative sovereign immunity and Due Process rights and despite that Plaintiffs have not
established personal jurisdiction over Defendants. Defendants object to this Request as
overbroad, irrelevant, unduly burdensome, and not proportional to the needs of the
litigation because it seeks information related to Facebook vulnerabilities, which has no
relevance to Plaintiffs’ allegations or any issue in this case. Defendants further object to
this Request as overbroad, irrelevant, unduly burdensome, and not proportional to the
needs of the litigation to the extent it seeks information related to vulnerabilities other
than the vulnerability allegedly exploited by the Pegasus technology that was used with
respect to the “Target Devices” described in the Complaint (Dkt. No. 1 at 2:6-7), which
has no relevance to Plaintiffs’ allegations or any issue in this case. Defendants further
object to the time period of this Request as arbitrary, overbroad, irrelevant, unduly
burdensome, and not proportional to the needs of the litigation. Plaintiffs’ allegations
relate to the period from January 2018, when Plaintiffs allege that Defendants first
created WhatsApp accounts, to May 2019, when Plaintiffs “closed the vulnerability” that
allegedly allowed Pegasus to function over WhatsApp. Seeking documents from four
years before Plaintiffs allege that Defendants’ alleged illegal conduct began and seven
months after it ended is arbitrary and improper. Responsive materials are being withheld
on the basis of these objections.

        Subject to and without waiving these objections, and conditioned on whether the
Court determines that discovery is proper at this stage in consideration of Defendants’
motion to stay discovery, and subject to the Court’s entry of a protective order,
Defendants will produce responsive and nonprivileged documents and communications,
if any exist, from the time period between January 2018 and May 2019 that relate to the
identification of the specific WhatsApp vulnerability allegedly exploited by the Pegasus
technology that was used with respect to the “Target Devices” described in the Complaint
(Dkt. No. 1 at 2:6-7), that Defendants are able to locate after a reasonable search,
provided that (1) the subject matter jurisdiction of this action is established and, if taken,
any interlocutory appeal of such decision is determined; (2) Plaintiffs establish personal
jurisdiction over Defendants; (3) the Court determines discovery is proper at this stage;
and (4) Defendants are not prohibited from disclosing such documents and
communications by Israeli law, regulation, or governmental order or directive, or any
other applicable law, regulation, or governmental order or directive, or by contract. If the
Court determines it has jurisdiction of the subject matter and personal jurisdiction over
Defendants and that discovery is proper at this stage, and if Defendants are not otherwise
prohibited from making such a disclosure, Defendants anticipate substantial completion
of their responsive production within 180 days after such determinations by the Court.

REQUEST FOR PRODUCTION NO. 6:

        DOCUMENTS and COMMUNICATIONS sufficient to identify the PERSONS,
teams, groups, or divisions at NSO, as well as vendors, agents, or bounties that assisted in
the identification and analysis of WhatsApp vulnerabilities.


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RESPONSE TO REQUEST FOR PRODUCTION NO. 6:

         Defendants incorporate their General Objections, including that this Request
purports to require Defendants to participate in this lawsuit in violation of Defendants’
derivative sovereign immunity and Due Process rights and despite that Plaintiffs have not
established personal jurisdiction over Defendants. Defendants object to this Request as
overbroad, irrelevant, unduly burdensome, and not proportional to the needs of the
litigation to the extent it seeks information related to vulnerabilities other than the
vulnerability allegedly exploited by the Pegasus technology that was used with respect to
the “Target Devices” described in the Complaint (Dkt. No. 1 at 2:6-7), which has no
relevance to Plaintiffs’ allegations or any issue in this case. Defendants further object that
the term “bounties” is vague and ambiguous. Responsive materials are being withheld on
the basis of these objections.

        Subject to and without waiving these objections, and conditioned on whether the
Court determines that discovery is proper at this stage in consideration of Defendants’
motion to stay discovery, and subject to the Court’s entry of a protective order,
Defendants will produce responsive and nonprivileged documents and communications,
if any exist, sufficient to identify the persons that assisted in identifying the specific
WhatsApp vulnerability allegedly exploited by the Pegasus technology that was used
with respect to the “Target Devices” described in the Complaint (Dkt. No. 1 at 2:6-7),
that Defendants are able to locate after a reasonable search, provided that (1) the subject
matter jurisdiction of this action is established and, if taken, any interlocutory appeal of
such decision is determined; (2) Plaintiffs establish personal jurisdiction over Defendants;
(3) the Court determines discovery is proper at this stage; and (4) Defendants are not
prohibited from disclosing such documents and communications by Israeli law,
regulation, or governmental order or directive, or any other applicable law, regulation, or
governmental order or directive, or by contract. If the Court determines it has jurisdiction
of the subject matter and personal jurisdiction over Defendants and that discovery is
proper at this stage, and if Defendants are not otherwise prohibited from making such a
disclosure, Defendants anticipate substantial completion of their responsive production
within 180 days after such determinations by the Court.

REQUEST FOR PRODUCTION NO. 7:

       ALL DOCUMENTS and COMMUNICATIONS CONCERNING the
development and testing of any EXPLOIT or TECHNOLOGY targeting or directed at
WHATSAPP servers or USERS.

RESPONSE TO REQUEST FOR PRODUCTION NO. 7:

         Defendants incorporate their General Objections, including that this Request
purports to require Defendants to participate in this lawsuit in violation of Defendants’
derivative sovereign immunity and Due Process rights and despite that Plaintiffs have not
established personal jurisdiction over Defendants. Defendants object to this Request as
overbroad, irrelevant, unduly burdensome, and not proportional to the needs of the
litigation because it seeks information related to technologies other than the Pegasus


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technology that was used with respect to the “Target Devices” described in the Complaint
(Dkt. No. 1 at 2:6-7), which has no relevance to Plaintiffs’ allegations or any issue in this
case. Defendants further object that the phrase “targeting or directed at” are vague and
ambiguous. Responsive materials are being withheld on the basis of these objections.

         Subject to and without waiving these objections, and conditioned on whether the
Court determines that discovery is proper at this stage in consideration of Defendants’
motion to stay discovery, and subject to the Court’s entry of a protective order,
Defendants will produce responsive and nonprivileged documents and communications,
if any exist, related to the development and testing of the Pegasus technology that was
used with respect to the “Target Devices” described in the Complaint (Dkt. No. 1 at 2:6-
7), that Defendants are able to locate after a reasonable search, provided that (1) the
subject matter jurisdiction of this action is established and, if taken, any interlocutory
appeal of such decision is determined; (2) Plaintiffs establish personal jurisdiction over
Defendants; (3) the Court determines discovery is proper at this stage; and (4) Defendants
are not prohibited from disclosing such documents and communications by Israeli law,
regulation, or governmental order or directive, or any other applicable law, regulation, or
governmental order or directive, or by contract. If the Court determines it has jurisdiction
of the subject matter and personal jurisdiction over Defendants and that discovery is
proper at this stage, and if Defendants are not otherwise prohibited from making such a
disclosure, Defendants anticipate substantial completion of their responsive production
within 180 days after such determinations by the Court.

REQUEST FOR PRODUCTION NO. 8:

       DOCUMENTS and COMMUNICATIONS sufficient to identify the PERSONS,
teams, groups, divisions, or sections at NSO that assisted in the development, testing, or
maintenance of any EXPLOIT or TECHNOLOGY directed at WHATSAPP servers or
USERS.

RESPONSE TO REQUEST FOR PRODUCTION NO. 8:

         Defendants incorporate their General Objections, including that this Request
purports to require Defendants to participate in this lawsuit in violation of Defendants’
derivative sovereign immunity and Due Process rights and despite that Plaintiffs have not
established personal jurisdiction over Defendants. Defendants object to this Request as
overbroad, irrelevant, unduly burdensome, and not proportional to the needs of the
litigation because it seeks information related to technologies other than the Pegasus
technology that was used with respect to the “Target Devices” described in the Complaint
(Dkt. No. 1 at 2:6-7), which has no relevance to Plaintiffs’ allegations or any issue in this
case. Responsive materials are being withheld on the basis of these objections.

       Subject to and without waiving these objections, and conditioned on whether the
Court determines that discovery is proper at this stage in consideration of Defendants’
motion to stay discovery, and subject to the Court’s entry of a protective order,
Defendants will produce documents and communications sufficient to identify the
persons responsible for development, testing, or maintenance of the Pegasus technology


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that was used with respect to the “Target Devices” described in the Complaint (Dkt. No.
1 at 2:6-7), if any exist, that Defendants are able to locate after a reasonable search,
provided that (1) the subject matter jurisdiction of this action is established and, if taken,
any interlocutory appeal of such decision is determined; (2) Plaintiffs establish personal
jurisdiction over Defendants; (3) the Court determines discovery is proper at this stage;
and (4) Defendants are not prohibited from disclosing such documents and
communications by Israeli law, regulation, or governmental order or directive, or any
other applicable law, regulation, or governmental order or directive, or by contract. If the
Court determines it has jurisdiction of the subject matter and personal jurisdiction over
Defendants and that discovery is proper at this stage, and if Defendants are not otherwise
prohibited from making such a disclosure, Defendants anticipate substantial completion
of their responsive production within 180 days after such determinations by the Court.

REQUEST FOR PRODUCTION NO. 9:

       ALL DOCUMENTS and COMMUNICATIONS CONCERNING the processes,
methods, and TECHNOLOGY used by NSO SPYWARE to monitor TARGET
DEVICES and exfiltrate data, including but not limited to any command and control
software or payloads.

RESPONSE TO REQUEST FOR PRODUCTION NO. 9:

         Defendants incorporate their General Objections, including that this Request
purports to require Defendants to participate in this lawsuit in violation of Defendants’
derivative sovereign immunity and Due Process rights and despite that Plaintiffs have not
established personal jurisdiction over Defendants. Defendants object to this Request as
overbroad, irrelevant, unduly burdensome, and not proportional to the needs of the
litigation because it seeks information related to technologies other than the Pegasus
technology that was used with respect to the “Target Devices” described in the Complaint
(Dkt. No. 1 at 2:6-7), and devices other the Target Devices, which has no relevance to
Plaintiffs’ allegations or any issue in this case. Defendants further object that the phrases
“processes [and] methods,” “monitor,” “exfiltrate data,” and “command and control
software or payloads” are vague and ambiguous. Responsive materials are being withheld
on the basis of these objections.

        Subject to and without waiving these objections, and conditioned on whether the
Court determines that discovery is proper at this stage in consideration of Defendants’
motion to stay discovery, and subject to the Court’s entry of a protective order,
Defendants will produce responsive and nonprivileged documents and communications,
if any exist, concerning the processes, methods and technology used by the Pegasus
technology that was used with respect to the “Target Devices” described in the Complaint
(Dkt. No. 1 at 2:6-7) and export data from such Target Devices, that Defendants are able
to locate after a reasonable search, provided that (1) the subject matter jurisdiction of this
action is established and, if taken, any interlocutory appeal of such decision is determined;
(2) Plaintiffs establish personal jurisdiction over Defendants; (3) the Court determines
discovery is proper at this stage; and (4) Defendants are not prohibited from disclosing
such documents and communications by Israeli law, regulation, or governmental order or


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directive, or any other applicable law, regulation, or governmental order or directive, or
by contract. If the Court determines it has jurisdiction of the subject matter and personal
jurisdiction over Defendants and that discovery is proper at this stage, and if Defendants
are not otherwise prohibited from making such a disclosure, Defendants anticipate
substantial completion of their responsive production within 180 days after such
determinations by the Court.

REQUEST FOR PRODUCTION NO. 10:

       ALL DOCUMENTS and COMMUNICATIONS CONCERNING mobile phone
and device operating system vulnerabilities used to install NSO SPYWARE on mobile
phones and devices of WHATSAPP USERS.

RESPONSE TO REQUEST FOR PRODUCTION NO. 10:

         Defendants incorporate their General Objections, including that this Request
purports to require Defendants to participate in this lawsuit in violation of Defendants’
derivative sovereign immunity and Due Process rights and despite that Plaintiffs have not
established personal jurisdiction over Defendants. Defendants object to this Request as
overbroad, irrelevant, unduly burdensome, and not proportional to the needs of the
litigation because it seeks information related to technologies other than the Pegasus
technology that was used with respect to the “Target Devices” described in the Complaint
(Dkt. No. 1 at 2:6-7), which has no relevance to Plaintiffs’ allegations or any issue in this
case. Responsive materials are being withheld on the basis of these objections.

        Subject to and without waiving these objections, and conditioned on whether the
Court determines that discovery is proper at this stage in consideration of Defendants’
motion to stay discovery, and subject to the Court’s entry of a protective order,
Defendants will produce responsive and nonprivileged documents and communications,
if any exist, concerning mobile phone and device operating system vulnerabilities used
by the Pegasus technology that was used with respect to the “Target Devices” described
in the Complaint (Dkt. No. 1 at 2:6-7), that Defendants are able to locate after a
reasonable search, provided that (1) the subject matter jurisdiction of this action is
established and, if taken, any interlocutory appeal of such decision is determined; (2)
Plaintiffs establish personal jurisdiction over Defendants; (3) the Court determines
discovery is proper at this stage; and (4) Defendants are not prohibited from disclosing
such documents and communications by Israeli law, regulation, or governmental order or
directive, or any other applicable law, regulation, or governmental order or directive, or
by contract. If the Court determines it has jurisdiction of the subject matter and personal
jurisdiction over Defendants and that discovery is proper at this stage, and if Defendants
are not otherwise prohibited from making such a disclosure, Defendants anticipate
substantial completion of their responsive production within 180 days after such
determinations by the Court.




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REQUEST FOR PRODUCTION NO. 11:

       DOCUMENTS and COMMUNICATIONS sufficient to identify the PERSONS,
and the teams, groups, divisions, or sections at NSO responsible for identifying mobile
phone and device vulnerabilities used by NSO.

RESPONSE TO REQUEST FOR PRODUCTION NO. 11:

         Defendants incorporate their General Objections, including that this Request
purports to require Defendants to participate in this lawsuit in violation of Defendants’
derivative sovereign immunity and Due Process rights and despite that Plaintiffs have not
established personal jurisdiction over Defendants. Defendants object to this Request as
overbroad, irrelevant, unduly burdensome, and not proportional to the needs of the
litigation because it seeks information related to technologies other than the Pegasus
technology that was used with respect to the “Target Devices” described in the Complaint
(Dkt. No. 1 at 2:6-7), and devices other than the Target Devices, which has no relevance
to Plaintiffs’ allegations or any issue in this case. Responsive materials are being
withheld on the basis of these objections.

        Subject to and without waiving these objections, and conditioned on whether the
Court determines that discovery is proper at this stage in consideration of Defendants’
motion to stay discovery, and subject to the Court’s entry of a protective order,
Defendants will produce responsive and nonprivileged documents and communications,
if any exist, sufficient to identify the persons responsible for identifying any mobile
phone and device vulnerabilities used by the Pegasus technology that was used with
respect to the “Target Devices” described in the Complaint (Dkt. No. 1 at 2:6-7), that
Defendants are able to locate after a reasonable search, provided that (1) the subject
matter jurisdiction of this action is established and, if taken, any interlocutory appeal of
such decision is determined; (2) Plaintiffs establish personal jurisdiction over Defendants;
(3) the Court determines discovery is proper at this stage; and (4) Defendants are not
prohibited from disclosing such documents and communications by Israeli law,
regulation, or governmental order or directive, or any other applicable law, regulation, or
governmental order or directive, or by contract. If the Court determines it has jurisdiction
of the subject matter and personal jurisdiction over Defendants and that discovery is
proper at this stage, and if Defendants are not otherwise prohibited from making such a
disclosure, Defendants anticipate substantial completion of their responsive production
within 180 days after such determinations by the Court.

REQUEST FOR PRODUCTION NO. 12:

       ALL DOCUMENTS and COMMUNICATIONS CONCERNING the
development and testing of EXPLOITS against the mobile phones and devices of
WHATSAPP USERS.

RESPONSE TO REQUEST FOR PRODUCTION NO. 12:

       Defendants incorporate their General Objections, including that this Request
purports to require Defendants to participate in this lawsuit in violation of Defendants’


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derivative sovereign immunity and Due Process rights and despite that Plaintiffs have not
established personal jurisdiction over Defendants. Defendants object to this Request as
overbroad, irrelevant, unduly burdensome, and not proportional to the needs of the
litigation to the extent it seeks information related to technologies other than the Pegasus
technology that was used with respect to the “Target Devices” described in the Complaint
(Dkt. No. 1 at 2:6-7), which has no relevance to Plaintiffs’ allegations or any issue in this
case. Responsive materials are being withheld on the basis of these objections.

         Subject to and without waiving these objections, and conditioned on whether the
Court determines that discovery is proper at this stage in consideration of Defendants’
motion to stay discovery, and subject to the Court’s entry of a protective order,
Defendants will produce responsive and nonprivileged documents and communications,
if any exist, related to the development and testing of the Pegasus technology that was
used with respect to the “Target Devices” described in the Complaint (Dkt. No. 1 at 2:6-
7), that Defendants are able to locate after a reasonable search, provided that (1) the
subject matter jurisdiction of this action is established and, if taken, any interlocutory
appeal of such decision is determined; (2) Plaintiffs establish personal jurisdiction over
Defendants; (3) the Court determines discovery is proper at this stage; and (4) Defendants
are not prohibited from disclosing such documents and communications by Israeli law,
regulation, or governmental order or directive, or any other applicable law, regulation, or
governmental order or directive, or by contract. If the Court determines it has jurisdiction
of the subject matter and personal jurisdiction over Defendants and that discovery is
proper at this stage, and if Defendants are not otherwise prohibited from making such a
disclosure, Defendants anticipate substantial completion of their responsive production
within 180 days after such determinations by the Court.

REQUEST FOR PRODUCTION NO. 13:

        DOCUMENTS and COMMUNICATIONS sufficient to identify the PERSONS,
and the teams, groups, divisions, or sections at NSO responsible for developing and
testing EXPLOITS against the mobile phone and devices of WHATSAPP USERS.

RESPONSE TO REQUEST FOR PRODUCTION NO. 13:

         Defendants incorporate their General Objections, including that this Request
purports to require Defendants to participate in this lawsuit in violation of Defendants’
derivative sovereign immunity and Due Process rights and despite that Plaintiffs have not
established personal jurisdiction over Defendants. Defendants object to this Request as
overbroad, irrelevant, unduly burdensome, and not proportional to the needs of the
litigation because it seeks information related to technologies other than the Pegasus
technology that was used with respect to the “Target Devices” described in the Complaint
(Dkt. No. 1 at 2:6-7), and devices other than the Target Devices, which has no relevance
to Plaintiffs’ allegations or any issue in this case.

       Subject to and without waiving these objections, and conditioned on whether the
Court determines that discovery is proper at this stage in consideration of Defendants’
motion to stay discovery, and subject to the Court’s entry of a protective order,


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Defendants will produce responsive and nonprivileged documents and communications,
if any exist, sufficient to identify the persons responsible for developing and testing the
Pegasus technology that was used with respect to the “Target Devices” described in the
Complaint (Dkt. No. 1 at 2:6-7), that Defendants are able to locate after a reasonable
search, provided that (1) the subject matter jurisdiction of this action is established and, if
taken, any interlocutory appeal of such decision is determined; (2) Plaintiffs establish
personal jurisdiction over Defendants; (3) the Court determines discovery is proper at this
stage; and (4) Defendants are not prohibited from disclosing such documents and
communications by Israeli law, regulation, or governmental order or directive, or any
other applicable law, regulation, or governmental order or directive, or by contract. If the
Court determines it has jurisdiction of the subject matter and personal jurisdiction over
Defendants and that discovery is proper at this stage, and if Defendants are not otherwise
prohibited from making such a disclosure, Defendants anticipate substantial completion
of their responsive production within 180 days after such determinations by the Court.

REQUEST FOR PRODUCTION NO. 14:

       ALL DOCUMENTS and COMMUNICATIONS CONCERNING the processes,
methods, and TECHNOLOGY used to install NSO SPYWARE on the mobile phones
and devices of WHATSAPP USERS, including but not limited to computer code,
commands, data, or payloads transmitted or received during the installation of NSO
SPYWARE.

RESPONSE TO REQUEST FOR PRODUCTION NO. 14:

         Defendants incorporate their General Objections, including that this Request
purports to require Defendants to participate in this lawsuit in violation of Defendants’
derivative sovereign immunity and Due Process rights and despite that Plaintiffs have not
established personal jurisdiction over Defendants. Defendants object to this Request as
overbroad, irrelevant, unduly burdensome, and not proportional to the needs of the
litigation because it seeks information related to technologies other than the Pegasus
technology that was used with respect to the “Target Devices” described in the Complaint
(Dkt. No. 1 at 2:6-7), and WhatsApp users other than the 1,400 users described in the
Complaint, which has no relevance to Plaintiffs’ allegations or any issue in this case.
Defendants further object that the terms “processes” and “methods” are vague and
ambiguous. Defendants further object to this request to the extent that it seeks documents
and communications concerning conduct by Defendants’ sovereign customers in their use
of Pegasus, which Defendants are prohibited from disclosing by contractual obligations
or foreign law, regulation, governmental order or directive. Responsive materials are
being withheld on the basis of these objections.

        Subject to and without waiving these objections, and conditioned on whether the
Court determines that discovery is proper at this stage in consideration of Defendants’
motion to stay discovery, and subject to the Court’s entry of a protective order,
Defendants will produce responsive and nonprivileged documents and communications,
if any exist, concerning the processes, methods and technology used to install the Pegasus
technology that was used with respect to the “Target Devices” described in the Complaint


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(Dkt. No. 1 at 2:6-7) on such Target Devices, that Defendants are able to locate after a
reasonable search, provided that (1) the subject matter jurisdiction of this action is
established and, if taken, any interlocutory appeal of such decision is determined; (2)
Plaintiffs establish personal jurisdiction over Defendants; (3) the Court determines
discovery is proper at this stage; and (4) Defendants are not prohibited from disclosing
such documents and communications by Israeli law, regulation, or governmental order or
directive, or any other applicable law, regulation, or governmental order or directive, or
by contract. If the Court determines it has jurisdiction of the subject matter and personal
jurisdiction over Defendants and that discovery is proper at this stage, and if Defendants
are not otherwise prohibited from making such a disclosure, Defendants anticipate
substantial completion of their responsive production within 180 days after such
determinations by the Court.

REQUEST FOR PRODUCTION NO. 15:

        ALL DOCUMENTS and COMMUNICATIONS CONCERNING the analysis,
reverse engineering, disassembling, or emulating of any version of the WhatsApp
application, including but not limited to its TECHNOLOGY, application programming
interfaces (APIs), decompiled code, binaries, executables, designs, specifications, or
analyses of the WhatsApp application, APIs, or network protocols.

RESPONSE TO REQUEST FOR PRODUCTION NO. 15:

        Defendants incorporate their General Objections, including that this Request
purports to require Defendants to participate in this lawsuit in violation of Defendants’
derivative sovereign immunity and Due Process rights and despite that Plaintiffs have not
established personal jurisdiction over Defendants. Defendants object to the phrases
“analysis, reverse engineering, disassembling, or emulating” and “application
programming interfaces (APIs), decompiled code, binaries, executables, designs,
specifications or analyses of the WhatsApp application, APIs, or network protocols” as
vague and ambiguous. Defendants further object to this Request as overbroad, irrelevant,
unduly burdensome, and not proportional to the needs of the litigation to the extent it
seeks information related to conduct related to technologies other than the Pegasus
technology that was used with respect to the “Target Devices” described in the Complaint
(Dkt. No. 1 at 2:6-7), which has no relevance to Plaintiffs’ allegations or any issue in this
case. Responsive materials are being withheld on the basis of these objections.

        Subject to and without waiving these objections, and conditioned on whether the
Court determines that discovery is proper at this stage in consideration of Defendants’
motion to stay discovery, and subject to the Court’s entry of a protective order,
Defendants will produce responsive and nonprivileged documents and communications,
if any exist, concerning the analysis, reverse engineering, disassembling, or emulating of
the WhatsApp application to the extent related to the Pegasus technology that was used
with respect to the “Target Devices” described in the Complaint (Dkt. No. 1 at 2:6-7),
that Defendants are able to locate after a reasonable search, provided that (1) the subject
matter jurisdiction of this action is established and, if taken, any interlocutory appeal of
such decision is determined; (2) Plaintiffs establish personal jurisdiction over Defendants;


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(3) the Court determines discovery is proper at this stage; and (4) Defendants are not
prohibited from disclosing such documents and communications by Israeli law,
regulation, or governmental order or directive, or any other applicable law, regulation, or
governmental order or directive, or by contract. If the Court determines it has jurisdiction
of the subject matter and personal jurisdiction over Defendants and that discovery is
proper at this stage, and if Defendants are not otherwise prohibited from making such a
disclosure, Defendants anticipate substantial completion of their responsive production
within 180 days after such determinations by the Court.

REQUEST FOR PRODUCTION NO. 16:

        ALL DOCUMENTS and COMMUNICATIONS CONCERNING the
TECHNOLOGY or NSO SPYWARE used by NSO to communicate with WhatsApp,
including WhatsApp servers, endpoints, computers and computer networks, other than
the official WhatsApp application.

RESPONSE TO REQUEST FOR PRODUCTION NO. 16:

         Defendants incorporate their General Objections, including that this Request
purports to require Defendants to participate in this lawsuit in violation of Defendants’
derivative sovereign immunity and Due Process rights and despite that Plaintiffs have not
established personal jurisdiction over Defendants. Defendants object to this Request as
overbroad, irrelevant, unduly burdensome, and not proportional to the needs of the
litigation because it seeks information related to technologies other than the Pegasus
technology that was used with respect to the “Target Devices” described in the Complaint
(Dkt. No. 1 at 2:6-7), which has no relevance to Plaintiffs’ allegations or any issue in this
case. Responsive materials are being withheld on the basis of these objections.

        Subject to and without waiving these objections, and conditioned on whether the
Court determines that discovery is proper at this stage in consideration of Defendants’
motion to stay discovery, and subject to the Court’s entry of a protective order,
Defendants will produce responsive and nonprivileged documents and communications,
if any exist, concerning the aspects of the Pegasus technology that was used with respect
to the “Target Devices” described in the Complaint (Dkt. No. 1 at 2:6-7) that were used
by NSO to communicate with WhatsApp, that Defendants are able to locate after a
reasonable search, provided that (1) the subject matter jurisdiction of this action is
established and, if taken, any interlocutory appeal of such decision is determined; (2)
Plaintiffs establish personal jurisdiction over Defendants; (3) the Court determines
discovery is proper at this stage; and (4) Defendants are not prohibited from disclosing
such documents and communications by Israeli law, regulation, or governmental order or
directive, or any other applicable law, regulation, or governmental order or directive, or
by contract. If the Court determines it has jurisdiction of the subject matter and personal
jurisdiction over Defendants and that discovery is proper at this stage, and if Defendants
are not otherwise prohibited from making such a disclosure, Defendants anticipate
substantial completion of their responsive production within 180 days after such
determinations by the Court.



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REQUEST FOR PRODUCTION NO. 17:

     ALL DOCUMENTS and COMMUNICATIONS CONCERNING any
WHATSAPP ACCOUNTS used to develop, test, transmit, install, distribute, or use any
NSO SPYWARE.

RESPONSE TO REQUEST FOR PRODUCTION NO. 17:

         Defendants incorporate their General Objections, including that this Request
purports to require Defendants to participate in this lawsuit in violation of Defendants’
derivative sovereign immunity and Due Process rights and despite that Plaintiffs have not
established personal jurisdiction over Defendants. Defendants object to this Request as
overbroad, irrelevant, unduly burdensome, and not proportional to the needs of the
litigation because it seeks information related to technologies other than the Pegasus
technology that was used with respect to the “Target Devices” described in the Complaint
(Dkt. No. 1 at 2:6-7), which has no relevance to Plaintiffs’ allegations or any issue in this
case. Defendants further object to “use” as vague and ambiguous. Defendants further
object to this request to the extent that it seeks documents and communications
concerning WhatsApp Accounts used by Defendants’ sovereign customers in their use of
Pegasus, which Defendants are prohibited from disclosing by contractual obligations or
foreign law, regulation, governmental order or directive. Responsive materials are being
withheld on the basis of these objections. Defendants further object to this request to the
extent it implies that Defendants “use” Pegasus, which is not the case.

         Subject to and without waiving these objections, and conditioned on whether the
Court determines that discovery is proper at this stage in consideration of Defendants’
motion to stay discovery, and subject to the Court’s entry of a protective order,
Defendants will produce responsive and nonprivileged documents and communications,
if any exist, concerning any WhatsApp accounts used by Defendants to develop, test,
transmit, install, or distribute the Pegasus technology that was used with respect to the
“Target Devices” described in the Complaint (Dkt. No. 1 at 2:6-7), that Defendants are
able to locate after a reasonable search, provided that (1) the subject matter jurisdiction of
this action is established and, if taken, any interlocutory appeal of such decision is
determined; (2) Plaintiffs establish personal jurisdiction over Defendants; (3) the Court
determines discovery is proper at this stage; and (4) Defendants are not prohibited from
disclosing such documents and communications by Israeli law, regulation, or
governmental order or directive, or any other applicable law, regulation, or governmental
order or directive, or by contract. If the Court determines it has jurisdiction of the subject
matter and personal jurisdiction over Defendants and that discovery is proper at this stage,
and if Defendants are not otherwise prohibited from making such a disclosure,
Defendants anticipate substantial completion of their responsive production within 180
days after such determinations by the Court.

REQUEST FOR PRODUCTION NO. 18:

       DOCUMENTS and COMMUNICATIONS sufficient to identify the PERSONS,
and the teams, groups, divisions, or section at NSO that assisted in creating, using, or


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accessing each of the WHATSAPP ACCOUNTS responsive to REQUEST FOR
PRODUCTION NO. 17.

RESPONSE TO REQUEST FOR PRODUCTION NO. 18:

         Defendants incorporate their General Objections, including that this Request
purports to require Defendants to participate in this lawsuit in violation of Defendants’
derivative sovereign immunity and Due Process rights and despite that Plaintiffs have not
established personal jurisdiction over Defendants. Defendants object to this Request as
overbroad, irrelevant, unduly burdensome, and not proportional to the needs of the
litigation because it seeks information related to technologies other than the Pegasus
technology that was used with respect to the “Target Devices” described in the Complaint
(Dkt. No. 1 at 2:6-7), which has no relevance to Plaintiffs’ allegations or any issue in this
case. Defendants further object to the terms “using” and “accessing” as vague and
ambiguous, and that the phrase “assisted in creating, using or accessing” is vague and
ambiguous. Responsive materials are being withheld on the basis of these objections.

        Subject to and without waiving these objections, and conditioned on whether the
Court determines that discovery is proper at this stage in consideration of Defendants’
motion to stay discovery, and subject to the Court’s entry of a protective order,
Defendants will produce responsive and nonprivileged documents and communications,
if any exist, sufficient to identify the persons who created and used the WhatsApp
accounts used by Defendants to develop, test, transmit, install, or distribute the Pegasus
technology that was used with respect to the “Target Devices” described in the Complaint
(Dkt. No. 1 at 2:6-7), that Defendants are able to locate after a reasonable search,
provided that (1) the subject matter jurisdiction of this action is established and, if taken,
any interlocutory appeal of such decision is determined; (2) Plaintiffs establish personal
jurisdiction over Defendants; (3) the Court determines discovery is proper at this stage;
and (4) Defendants are not prohibited from disclosing such documents and
communications by Israeli law, regulation, or governmental order or directive, or any
other applicable law, regulation, or governmental order or directive, or by contract. If the
Court determines it has jurisdiction of the subject matter and personal jurisdiction over
Defendants and that discovery is proper at this stage, and if Defendants are not otherwise
prohibited from making such a disclosure, Defendants anticipate substantial completion
of their responsive production within 180 days after such determinations by the Court.

REQUEST FOR PRODUCTION NO. 19:

        ALL DOCUMENTS and COMMUNICATIONS CONCERNING the
TECHNOLOGY used to transmit any data or information from any device containing or
infected with any NSO SPYWARE, including but not limited to the TARGET DEVICES,
to NSO or to NSO CUSTOMERS.

RESPONSE TO REQUEST FOR PRODUCTION NO. 19:

       Defendants incorporate their General Objections, including that this Request
purports to require Defendants to participate in this lawsuit in violation of Defendants’



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derivative sovereign immunity and Due Process rights and despite that Plaintiffs have not
established personal jurisdiction over Defendants. Defendants object to this Request as
overbroad, irrelevant, unduly burdensome, and not proportional to the needs of the
litigation because it seeks information related to technologies other than the Pegasus
technology that was used with respect to the “Target Devices” described in the Complaint
(Dkt. No. 1 at 2:6-7), and WhatsApp users other than the 1,400 users described in the
Complaint, which has no relevance to Plaintiffs’ allegations or any issue in this case.
Defendants further object to the extent this Request seeks third-party information that
Defendants are prohibited from disclosing by contractual obligations or foreign law,
regulation, governmental order or directive. Responsive materials are being withheld on
the basis of these objections.

        Subject to and without waiving these objections, and conditioned on whether the
Court determines that discovery is proper at this stage in consideration of Defendants’
motion to stay discovery, and subject to the Court’s entry of a protective order,
Defendants will produce responsive and nonprivileged documents and communications,
if any exist, concerning the Pegasus technology that was used to transmit data or
information from the “Target Devices” described in the Complaint (Dkt. No. 1 at 2:6-7)
that Defendants are able to locate after a reasonable search, provided that (1) the subject
matter jurisdiction of this action is established and, if taken, any interlocutory appeal of
such decision is determined; (2) Plaintiffs establish personal jurisdiction over Defendants;
(3) the Court determines discovery is proper at this stage; and (4) Defendants are not
prohibited from disclosing such documents and communications by Israeli law,
regulation, or governmental order or directive, or any other applicable law, regulation, or
governmental order or directive, or by contract. If the Court determines it has jurisdiction
of the subject matter and personal jurisdiction over Defendants and that discovery is
proper at this stage, and if Defendants are not otherwise prohibited from making such a
disclosure, Defendants anticipate substantial completion of their responsive production
within 180 days after such determinations by the Court.

REQUEST FOR PRODUCTION NO. 20:

        DOCUMENTS sufficient to describe the design and operation of PEGASUS,
including but not limited to the “layers” described in Exhibit 10 of the COMPLAINT:
installation, data collection, data, transmission, presentation and analysis, and
administration.

RESPONSE TO REQUEST FOR PRODUCTION NO. 20:

        Defendants incorporate their General Objections, including that this Request
purports to require Defendants to participate in this lawsuit in violation of Defendants’
derivative sovereign immunity and Due Process rights and despite that Plaintiffs have not
established personal jurisdiction over Defendants. Defendants object to the terms
“operation,” “layers,” “presentation and analysis,” and “administration” as vague and
ambiguous. Defendants further object to the phrase “data, transmission” as vague and
ambiguous; Defendants will interpret that phrase as “data transmission.”



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        Subject to and without waiving these objections, and conditioned on whether the
Court determines that discovery is proper at this stage in consideration of Defendants’
motion to stay discovery, and subject to the Court’s entry of a protective order,
Defendants will produce nonprivileged documents, if any exist, sufficient to describe the
design and operation of the Pegasus technology that was used with respect to the “Target
Devices” described in the Complaint (Dkt. No. 1 at 2:6-7), that Defendants are able to
locate after a reasonable search, provided that (1) the subject matter jurisdiction of this
action is established and, if taken, any interlocutory appeal of such decision is determined;
(2) Plaintiffs establish personal jurisdiction over Defendants; (3) the Court determines
discovery is proper at this stage; and (4) Defendants are not prohibited from disclosing
such documents and communications by Israeli law, regulation, or governmental order or
directive, or any other applicable law, regulation, or governmental order or directive, or
by contract. If the Court determines it has jurisdiction of the subject matter and personal
jurisdiction over Defendants and that discovery is proper at this stage, and if Defendants
are not otherwise prohibited from making such a disclosure, Defendants anticipate
substantial completion of their responsive production within 180 days after such
determinations by the Court.

REQUEST FOR PRODUCTION NO. 21:

       DOCUMENTS sufficient to describe the design and operation of PEGASUS’
system architecture and TECHNOLOGY, as described in Exhibit 10 of the
COMPLAINT.

RESPONSE TO REQUEST FOR PRODUCTION NO. 21:

        Defendants incorporate their General Objections, including that this Request
purports to require Defendants to participate in this lawsuit in violation of Defendants’
derivative sovereign immunity and Due Process rights and despite that Plaintiffs have not
established personal jurisdiction over Defendants. Defendants further object that the
terms “operation” and “system architecture” are vague and ambiguous.

        Subject to and without waiving these objections, and conditioned on whether the
Court determines that discovery is proper at this stage in consideration of Defendants’
motion to stay discovery, and subject to the Court’s entry of a protective order,
Defendants will produce nonprivileged documents, if any exist, sufficient to describe the
design and operation of system architecture and technology of the Pegasus technology
that was used with respect to the “Target Devices” described in the Complaint (Dkt. No.
1 at 2:6-7), that Defendants are able to locate after a reasonable search, provided that (1)
the subject matter jurisdiction of this action is established and, if taken, any interlocutory
appeal of such decision is determined; (2) Plaintiffs establish personal jurisdiction over
Defendants; (3) the Court determines discovery is proper at this stage; and (4) Defendants
are not prohibited from disclosing such documents and communications by Israeli law,
regulation, or governmental order or directive, or any other applicable law, regulation, or
governmental order or directive, or by contract. If the Court determines it has jurisdiction
of the subject matter and personal jurisdiction over Defendants and that discovery is
proper at this stage, and if Defendants are not otherwise prohibited from making such a


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disclosure, Defendants anticipate substantial completion of their responsive production
within 180 days after such determinations by the Court.

REQUEST FOR PRODUCTION NO. 22:

      DOCUMENTS sufficient to describe the PEGASUS Anonymizing Transmission
Network, as described in Exhibit 10 of the COMPLAINT.

RESPONSE TO REQUEST FOR PRODUCTION NO. 22:

        Defendants incorporate their General Objections, including that this Request
purports to require Defendants to participate in this lawsuit in violation of Defendants’
derivative sovereign immunity and Due Process rights and despite that Plaintiffs have not
established personal jurisdiction over Defendants. Defendants further object to the phrase
“Anonymizing Transmission Network” as vague and ambiguous.

        Subject to and without waiving these objections, and conditioned on whether the
Court determines that discovery is proper at this stage in consideration of Defendants’
motion to stay discovery, and subject to the Court’s entry of a protective order,
Defendants will produce nonprivileged documents, if any exist, sufficient to describe the
Pegasus Anonymizing Transmission Network to the extent related to the Pegasus
technology that was used with respect to the “Target Devices” described in the Complaint
(Dkt. No. 1 at 2:6-7), that Defendants are able to locate after a reasonable search,
provided that (1) the subject matter jurisdiction of this action is established and, if taken,
any interlocutory appeal of such decision is determined; (2) Plaintiffs establish personal
jurisdiction over Defendants; (3) the Court determines discovery is proper at this stage;
and (4) Defendants are not prohibited from disclosing such documents and
communications by Israeli law, regulation, or governmental order or directive, or any
other applicable law, regulation, or governmental order or directive, or by contract. If the
Court determines it has jurisdiction of the subject matter and personal jurisdiction over
Defendants and that discovery is proper at this stage, and if Defendants are not otherwise
prohibited from making such a disclosure, Defendants anticipate substantial completion
of their responsive production within 180 days after such determinations by the Court.

REQUEST FOR PRODUCTION NO. 23:

        ALL DOCUMENTS and COMMUNICATIONS CONCERNING the servers
identified in response to REQUESTS FOR PRODUCTION NOS. 16, 19, 21, and 22
above, including but not limited to COMMUNICATIONS with the third-party providers
from whom those servers were leased, and the locations of those servers.

RESPONSE TO REQUEST FOR PRODUCTION NO. 23:

        Defendants incorporate their General Objections, including that this Request
purports to require Defendants to participate in this lawsuit in violation of Defendants’
derivative sovereign immunity and Due Process rights and despite that Plaintiffs have not
established personal jurisdiction over Defendants. Defendants object to this Request as
vague, ambiguous, and unintelligible because Requests Nos. 16, 19, 21, and 22 do not


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mention servers or ask Defendants to identify specific servers. Defendants further object
to this Request as overbroad, irrelevant, unduly burdensome, and not proportional to the
needs of the litigation to the extent it seeks information related to technologies other than
the Pegasus technology that was used with respect to the “Target Devices” described in
the Complaint (Dkt. No. 1 at 2:6-7), which has no relevance to Plaintiffs’ allegations or
any issue in this case. Defendants further object that this Request seeks irrelevant
information because the location of any third-party servers is irrelevant as a matter of law
to any issue in this case.

       The requested discovery, to the extent any exists, is withheld on these bases.

REQUEST FOR PRODUCTION NO. 24:

     DOCUMENTS sufficient to describe all of the data and information NSO or NSO
CUSTOMERS obtained from the TARGET USERS or the TARGET DEVICES.

RESPONSE TO REQUEST FOR PRODUCTION NO. 24:

         Defendants incorporate their General Objections, including that this Request
purports to require Defendants to participate in this lawsuit in violation of Defendants’
derivative sovereign immunity and Due Process rights and despite that Plaintiffs have not
established personal jurisdiction over Defendants. Defendants object to this Request as
overbroad, irrelevant, unduly burdensome, and not proportional to the needs of the
litigation because it seeks information related to technologies other than the Pegasus
technology that was used with respect to the “Target Devices” described in the Complaint
(Dkt. No. 1 at 2:6-7), and WhatsApp users other than the 1,400 users described in the
Complaint, which has no relevance to Plaintiffs’ allegations or any issue in this case.
Defendants further object to the extent this Request seeks information that is not within
Defendants’ custody or control and/or third-party information that Defendants are
prohibited from disclosing by contractual obligations or foreign law, regulation,
governmental order or directive. Responsive materials are being withheld on the basis of
these objections.

        Subject to and without waiving these objections, and conditioned on whether the
Court determines that discovery is proper at this stage in consideration of Defendants’
motion to stay discovery, and subject to the Court’s entry of a protective order,
Defendants respond that as a general matter, NSO does not have access to the
information NSO’s customers obtain from target users or target devices, including
through use of the Pegasus technology that was used with respect to the “Target Devices”
described in the Complaint (Dkt. No. 1 at 2:6-7), and NSO may only come into such
information if it is provided to NSO by NSO’s customer; to the extent Defendants have
any responsive and nonprivileged documents, Defendants will produce documents
sufficient to describe whatever information NSO has obtained from the “Target Devices”
described in the Complaint (Dkt. No. 1 at 2:6-7), that Defendants are able to locate after a
reasonable search, provided that (1) the subject matter jurisdiction of this action is
established and, if taken, any interlocutory appeal of such decision is determined; (2)
Plaintiffs establish personal jurisdiction over Defendants; (3) the Court determines


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discovery is proper at this stage; and (4) Defendants are not prohibited from disclosing
such documents and communications by Israeli law, regulation, or governmental order or
directive, or any other applicable law, regulation, or governmental order or directive, or
by contract. If the Court determines it has jurisdiction of the subject matter and personal
jurisdiction over Defendants and that discovery is proper at this stage, and if Defendants
are not otherwise prohibited from making such a disclosure, Defendants anticipate
substantial completion of their responsive production within 180 days after such
determinations by the Court.

REQUEST FOR PRODUCTION NO. 26:

        ALL DOCUMENTS used to market, sell, or promote NSO SPYWARE, including
but not limited to any DOCUMENTS or COMMUNICATIONS that refer to WhatsApp
or Facebook in any way.

RESPONSE TO REQUEST FOR PRODUCTION NO. 26:

         Defendants incorporate their General Objections, including that this Request
purports to require Defendants to participate in this lawsuit in violation of Defendants’
derivative sovereign immunity and Due Process rights and despite that Plaintiffs have not
established personal jurisdiction over Defendants. Defendants object to this Request as
overbroad, irrelevant, unduly burdensome, and not proportional to the needs of the
litigation because it seeks information related to technologies other than the Pegasus
technology that was used with respect to the “Target Devices” described in the Complaint
(Dkt. No. 1 at 2:6-7), which has no relevance to Plaintiffs’ allegations or any issue in this
case. Responsive materials are being withheld on the basis of these objections.

        Subject to and without waiving these objections, and conditioned on whether the
Court determines that discovery is proper at this stage in consideration of Defendants’
motion to stay discovery, and subject to the Court’s entry of a protective order,
Defendants will produce its marketing, sales and promotional materials, if any exist,
related to the Pegasus technology that was used with respect to the “Target Devices”
described in the Complaint (Dkt. No. 1 at 2:6-7) and which refer to WhatsApp or
Facebook, that Defendants are able to locate after a reasonable search, provided that (1)
the subject matter jurisdiction of this action is established and, if taken, any interlocutory
appeal of such decision is determined; (2) Plaintiffs establish personal jurisdiction over
Defendants; (3) the Court determines discovery is proper at this stage; and (4) Defendants
are not prohibited from disclosing such documents and communications by Israeli law,
regulation, or governmental order or directive, or any other applicable law, regulation, or
governmental order or directive, or by contract. If the Court determines it has jurisdiction
of the subject matter and personal jurisdiction over Defendants and that discovery is
proper at this stage, and if Defendants are not otherwise prohibited from making such a
disclosure, Defendants anticipate substantial completion of their responsive production
within 180 days after such determinations by the Court.




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REQUEST FOR PRODUCTION NO. 28:

       ALL COMMUNICATIONS with Westbridge Technologies relating to WhatsApp
and Facebook and the surveillance of Facebook and WhatsApp users.

RESPONSE TO REQUEST FOR PRODUCTION NO. 28:

         Defendants incorporate their General Objections, including that this Request
purports to require Defendants to participate in this lawsuit in violation of Defendants’
derivative sovereign immunity and Due Process rights and despite that Plaintiffs have not
established personal jurisdiction over Defendants. Defendants object to this Request as
overbroad, irrelevant, unduly burdensome, and not proportional to the needs of the
litigation because it seeks information related to technologies other than the Pegasus
technology that was used with respect to the “Target Devices” described in the Complaint
(Dkt. No. 1 at 2:6-7), which has no relevance to Plaintiffs’ allegations or any issue in this
case, and “surveillance of Facebook . . . users,” which does not relate to any claim or
defense, which has no relevance to Plaintiffs’ allegations or any issue in this case.
Responsive materials are being withheld on the basis of these objections.

        Subject to and without waiving these objections, and conditioned on whether the
Court determines that discovery is proper at this stage in consideration of Defendants’
motion to stay discovery, and subject to the Court’s entry of a protective order,
Defendants will produce nonprivileged and responsive communications with Westbridge
Technologies, if any exist, related to WhatsApp and Facebook and the use of the Pegasus
technology to monitor the “Target Devices” described in the Complaint (Dkt. No. 1 at
2:6-7), that Defendants are able to locate after a reasonable search, provided that (1) the
subject matter jurisdiction of this action is established and, if taken, any interlocutory
appeal of such decision is determined; (2) Plaintiffs establish personal jurisdiction over
Defendants; (3) the Court determines discovery is proper at this stage; and (4) Defendants
are not prohibited from disclosing such documents and communications by Israeli law,
regulation, or governmental order or directive, or any other applicable law, regulation, or
governmental order or directive, or by contract. If the Court determines it has jurisdiction
of the subject matter and personal jurisdiction over Defendants and that discovery is
proper at this stage, and if Defendants are not otherwise prohibited from making such a
disclosure, Defendants anticipate substantial completion of their responsive production
within 180 days after such determinations by the Court.

REQUEST FOR PRODUCTION NO. 29:

       DOCUMENTS sufficient to show NSO’s financial statements, balance sheets,
gross profits, cost of goods sold, and net profits related to NSO SPYWARE and
WHATSAPP USERS for calendar years 2014-2019.

RESPONSE TO REQUEST FOR PRODUCTION NO. 29:

        Defendants incorporate their General Objections, including that this Request
purports to require Defendants to participate in this lawsuit in violation of Defendants’
derivative sovereign immunity and Due Process rights and despite that Plaintiffs have not


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established personal jurisdiction over Defendants. Defendants object to this Request as
overbroad, irrelevant, unduly burdensome, and not proportional to the needs of the
litigation because it seeks information related to technologies other than the Pegasus
technology that was used with respect to the “Target Devices” described in the Complaint
(Dkt. No. 1 at 2:6-7), which has no relevance to Plaintiffs’ allegations or any issue in this
case. Defendants further object to the time period of this Request as arbitrary and
overbroad because Plaintiffs’ allegations relate to the period from January 2018, when
Plaintiffs allege that Defendants first created WhatsApp accounts, to May 2019, when
Plaintiffs “closed the vulnerability” that allegedly allowed Pegasus to function over
WhatsApp. Defendants further object that this Request seeks irrelevant information
because Defendants’ “financial statements, balance sheets, gross profits, cost of goods
sold, and net profits” related to Pegasus are irrelevant to any issue in this case. At a
minimum, such information is premature before liability is established and damages must
be calculated.

       The requested discovery, to the extent any exists, is withheld on these bases.




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